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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF KENTUCKY
                                      Pikeville Division

IN RE:

JUSTIN TODD TROUT
                                                     CASE NO.          18-70695-GRS
                  DEBTOR.                                              CHAPTER 7

                       DISCLOSURE OF FEES OF COUNSEL FOR DEBTOR

          Notice is hereby given pursuant to 11 U.S.C. § 329(b) and Fed.R.Bankr.P. 2016(b) that

McBrayer PLLC, as counsel for the Debtor, received a retainer payment of $2,500.00 from the

Debtor on June 13, 2019, for services rendered and to be rendered in connection with this bankruptcy

case. McBrayer PLLC has not shared or agreed to share the above-described compensation with any

other person or entity.

                                        By:   /s/ Douglas T. Logsdon
                                              Douglas T. Logsdon
                                              MCBRAYER PLLC
                                              201 East Main Street, Suite 900
                                              Lexington, Kentucky 40507
                                              Telephone: (859) 231.8780
                                              Facsimile: (859) 281.1552
                                              Email: dlogson@mmlk.com
                                              ATTORNEYS FOR JUSTIN TODD TROUT

                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 1st day of July, 2019, a true and correct copy
of the foregoing document was served via the Court's ECF notification system.

                                                       /s/ Douglas T. Logsdon
                                                       Douglas T. Logsdon


4831-5241-1291, v. 1




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